                                 Case
                                 Case2:05-mc-02025
                                      2:20-cv-00716-CB
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     AO 440 (Rev. 06/12) Summons in a Civil Action


                                                   UNITED STATES DISTRICT COURT
                                                                                            for the
                                                                      Western District
                                                                     __________        of Pennsylvania
                                                                                 District of __________

      ABIGALE PFINGSTEN, individually and on behalf of                                          )
                all others similarly situated                                                   )
                                                                                                )
                                                                                                )
                                       Plaintiff(s)                                             )
                                                                                                )
                                             v.                                                           Civil Action No. 2:20-CV-716
                                                                                                )
                   CARNEGIE MELLON UNIVERSITY                                                   )
                                                                                                )
                                                                                                )
                                                                                                )
                                      Defendant(s)                                              )

                                                                    SUMMONS IN A CIVIL ACTION

     To: (Defendant’s name and address) Carnegie Mellon University
                                                      5000 Forbes Avenue
                                                      Pittsburgh, PA 15213




                 A lawsuit has been filed against you.

              Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
     are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
     whose name and address are: Jason C. Tetlow
                                                      Tetlow Law, P.C.
                                                      310 Grant Street, Suite 700
                                                      Pittsburgh, PA 15219



            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
     You also must file your answer or motion with the court.


                                                                                                           &/(5.2)&2857
                                                                                                              CLERK OF COURT


   Date:
05/17/2020                                                                                                  ErickaTorain
                                                                                                                     Signature of Clerk or Deputy Clerk
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 Civil Action No. 2:20-CV-716

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
